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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA,            :       HON. JAMES B. CLARK III

       v.                            :       MAGISTRATE NO. 17‐3195

AHARON LEV                           :       OPINION AND ORDER

                                     :



       Defendant Aharon Lev moves this Court to dismiss the Criminal Complaint against him in

this matter with prejudice based upon the Government’s alleged violation of the Speedy Trial

Act, 18 U.S.C. § 3161, et seq. See Docket No. 33. Defendant claims that because the

Government failed to file an indictment or information within thirty days of his arrest, as

required under 18 U.S.C. § 3161(b), his Speedy Trial clock has expired and the Complaint must

therefore be dismissed. Furthermore, Defendant asserts that because he has suffered

substantial prejudice as a result of the Government’s years‐long prosecution, any dismissal of

the Complaint should be with prejudice. Finally, and for largely the same reasons, Defendant

moves that the Government be precluded from re‐prosecuting him by way of criminal

complaint under Federal Rule of Criminal Procedure 48.

       The Government counters with the assertion that recent Standing Orders 20‐02 and 20‐

03 issued by this Court have served to toll Defendant’s Speedy Trial clock since late March and

that the clock has consequently not yet been exhausted. See Docket Nos. 36 and 37

(Amended). The Government further complains that Defendant, who had until recently been

willing repeatedly to consent to ends‐of‐justice continuances, has abruptly chosen to reverse


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course at a time when obtaining a grand jury quorum in a locked‐down New Jersey is all but

impossible due to the COVID‐19 pandemic. The Government finally contends that it has not

been so dilatory in its actions that the Defendant has suffered prejudice sufficient to warrant

either a dismissal with prejudice or an Order precluding Defendant’s re‐prosecution. The

Government therefore urges that Defendant’s motions be denied.


       Defendant devotes a good bit of time in his moving papers to a discussion of the

propriety of the charges brought against him in the criminal complaint filed at the inception of

this litigation. See Docket No. 33, at 1‐6. When distilled down to its essence, however, the

Defendant’s present application focuses on – indeed, depends upon – the proper effect to be

given to Standing Orders 20‐02 and 20‐03. Accepting as accurate the lengthy recitations in

Defendant’s initial moving brief regarding the continuance orders filed in this case and their

effect on the Speedy Trial clock, see Docket No. 33, at 7‐9, that clock had 10 days remaining as

of March 24, 2020. As virtually everyone is aware, late March was approximately the same

time that society at‐large began to adopt extensive lockdown and quarantine measures

because of the COVID‐19 pandemic. In conjunction with those lockdown and quarantine

measures, this Court on March 16, 2020 issued Standing Orders 20‐02 and 20‐03 addressing

inter alia the issue of time calculations under the Speedy Trial Act in light of the pandemic.

Specifically, Standing Order 20‐02 provided that the period from March 16, 2020 to April 30,

2020 would be considered “excluded time” for all criminal cases pending in the District based

upon the Court’s finding that the “ends of justice served by taking such action materially

outweigh the best interests of the public and the parties in a speedy trial.” Standing Order 20‐

02, para. 6. Standing Order 20‐03, in turn, clarified and confirmed that the “excluded time”

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period established under Standing Order 20‐02 would apply to the “30 day period established

by 18 U.S.C. § 3161(b) during which, in a case commenced by complaint, the United States must

either obtain an indictment or file an information.” Standing Order 20‐03, para. 1.1


       Given the foregoing, the analysis regarding the principal issue raised in Defendant’s

motions package becomes rather straightforward. If the “excluded time” provisions of Standing

Orders 20‐02 and 20‐03 do not apply to this case, as Defendant suggests, the complaint in this

matter should be dismissed based upon a violation of the Speedy Trial Act. On the other hand,

if the “excluded time” provisions of Standing Orders 20‐02 and 20‐03 do apply to this case, as

the Government suggests, then there has not been any violation of the Speedy Trial Act and the

complaint should not be dismissed.


       While recognizing the existence of Standing Orders 20‐02 and 20‐03, the Defendant

nevertheless argues that these Orders are insufficient under the Speedy Trial Act to toll the

Speedy Trial clock in this case. More particularly, Defendant urges that § 3161((h)(7)(A) of the

Speedy Trial Act does not allow for a blanket tolling in all cases; rather, in order for a tolling

order to be effective, it must include case specific findings regarding how the continuance at

issue serves the ends of justice. See Docket No. 33, at 9‐11. In support of this position,

Defendant points to a case in which the Supreme Court invalidated a blanket waiver of rights

which did not include case specific findings, see Zedner v. United States, 547 U.S. 489, 492

(2006), as well other federal cases in which the various courts questioned the adequacy of

findings in support of ends of justice continuances. See United States v. Doran, 882 F.2d 1511,


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 The Court has since extended the “excludable time” under Standing Orders 20‐02 and 20‐03
until May 31, 2020. See Standing Order 20‐09 (filed 4/17/20).
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1515 (10th Cir. 1989)(need for specific findings in order to justify significant delays); see also

United States v. Napadow, 596 F.3d 398, 405 (7th Cir. 2010)(need for sufficiently specific

findings to justify a continuance); United States v. Jordan, 544 F.3d 656, 665 (6th Cir. 2008)

(same); United States v. Henry, 538 F.3d 300, 304 (4th Cir. 2008)(same).


       The Government raises many objections in response to Defendant’s argument. First,

the Government posits that Defendant’s challenge to Standing Orders 20‐02 and 20‐03 is

untimely because the proper vehicle for attacking the Orders is a motion for reconsideration,

and Local Rule 7.1(i) requires that motions for reconsideration be filed within 14 days of

issuance of the Orders. See Docket No. 37, at 3. Here, the reconsideration period for the

Standing Orders expired on March 30, 2020, or about two weeks before Defendant filed the

instant motions. Second, the Government contends that the Speedy Trial clock in this matter

has not run because Defendant filed a bail motion on March 20, 2020, which tolled the Speedy

Trial clock from that date until the date the bail motion was decided – April 6,2020. See 18

U.S.C. § 3161(h)(1)(D) (delays resulting from pretrial motions are automatically excludable for

Speedy Trial purposes). Because Defendant filed the present motion on April 13, 2020, the

Government argues, only the period from April 7th through April 12th can be counted against

the Speedy Trial clock, and even accepting Defendant’s calculations this would leave at least

four days remaining on the Speedy Trial clock. See Docket No. 37, at 4. Finally, the

Government argues that Standing Orders 20‐02 and 20‐03 are a perfectly valid exercise of this

Court’s authority, they include all the necessary and proper findings to justify an ends of justice

continuance in this case, and they serve therefore to toll the Speedy Trial clock and defeat the

present application by the Defendant. See Docket No. 37, at 4‐5.

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       In reply to the Government’s arguments, the Defendant reiterates his position that

Standing Orders 20‐02 and 20‐03 are not sufficiently case specific to toll the Speedy Trial clock

in this matter, and repeats his claim that the Government simply cannot be permitted to hold

him on a criminal complaint knowing that he wishes to exercise his Speedy Trial rights. The

Defendant accuses the Government of ignoring both the Sixth Amendment and applicable case

law in taking the position that general Court orders can suspend the Speedy Trial clock as to all

cases within the District. The Defendant further argues that the Government is wrong to rely

on earlier cases where national emergencies were found to justify blanket tolling orders, noting

that those orders were not only of shorter duration but were also not accompanied by a

wholesale closing of the Court and its Grand Jury functions. The Defendant concludes by

urging that the circumstances of this case justify not a freezing‐in‐place of Defendant’s

prosecution, but rather a dismissal of that prosecution followed by considered Government

reflection as to whether or not to refile charges in the future.2 For all of these reasons, the

Defendant contends that his motions should be granted.


       After reflecting upon the arguments of both sides carefully, the Court finds itself in

agreement with the Government’s position that the Speedy Trial clock has not run in this case

and that the Complaint is not presently subject to dismissal. As an initial matter, if Standing

Orders 20‐02 and 20‐03 succeeded in accomplishing what on their face they clearly sought to

accomplish, then none of the days after March 16, 2020 that Defendant seeks to count against



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 In his reply, Defendant does not specifically address the Government’s arguments that
Defendant’s challenge to Standing Orders 20‐02 and 20‐03 is untimely and that the Speedy Trial
Clock has not yet run because motions were pending in this matter for most of the past two
months.
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the Speedy Trial clock should actually be counted for that purpose. These Standing Orders, as

amended, see supra note 1, specifically define as “excluded time” the period from March 16,

2020 until the present – in other words, the period upon which the success of Defendant’s

motion ultimately depends. Consequently, unless a reason for disregarding or invalidating

Standing Orders 20‐02 and 20‐03 exists, the Defendant’s position regarding a Speedy Trial Act

violation in this matter must fail.


       While Defendant offers many arguments questioning the application of Standing Orders

20‐02 and 20‐03 in this case, none of those arguments convince this Court either that the

District Court was without authority to issue the Standing Orders or that application of the

Standing Orders here is somehow fundamentally unfair or improper. Perhaps foremost among

Defendant’s arguments is that the Standing Orders improperly purport to toll his Speedy Trial

clock without making case‐specific findings; however, in order to accept this argument, the

Court would inevitably have to conclude that the Standing Orders are not effective to toll the

Speedy Trial clock in any criminal cases in the District. Not only would such an interpretation

effectively render the Standing Orders meaningless, but it would also ignore the fact that the

Standing Orders did make specific findings regarding the COVID‐19 pandemic that apply equally

to this case and all other criminal cases in this District. Clearly, given the COVID‐19 emergency,

the Standing Orders were a well‐intended effort to effectuate a temporary, district‐wide tolling

of the Speedy Trial clock in pending criminal matters, and the Defendant is simply unwilling to

concede that any such district‐wide action is within the inherent powers of the Court to engage

in emergency management.




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       As noted, supra, Defendant does recognize that blanket orders tolling the Speedy Trial

clock in the face of emergencies have been upheld in the past, see Furlow v. United States, 644

F.2d 764 (9th Cir. 1981)(blanket continuance following Mt. St. Helens eruption); United States v.

Correa, 182 F.Supp. 2d 326 (S.D.N.Y. 2001)(blanket continuance following 9/11 attacks), but

Defendant urges that those blanket orders were of relatively short duration and were not

accompanied by a lengthy shutdown of grand jury and other court functions. It is perhaps a

function of the unique nature of the current COVID‐19 pandemic that there are few if any

authorities directly on point. It is also the unique nature of the pandemic, however, that

convinces the Court not only that the Standing Orders now under attack were both reasonable

and necessary, but also that it is fair to apply them in Defendant’s case.


       Just as certain valuable civil rights have been curtailed by the emergency pandemic‐

related quarantine directives of local and state officials, so too may the rights of litigants be

affected by Court Order for the purpose of ensuring the orderly administration of justice.

Surely, the validity of any such Orders will ultimately depend upon their reasonableness, and

just as surely, Standing Orders 20‐02 and 20‐03 on their face represent an entirely reasonable

attempt to protect and ensure the timeliness of federal prosecutions at a time when we all

have been forced to take a pause because of a serious national emergency. Nor is the specific

application of the Standing Orders to Defendant’s case unreasonable, as they will likely only

extend the status quo for a few months and will place few if any additional burdens upon the

Defendant as he awaits his day in Court. While Defendant insists, due to an unexplained

change of heart, that he wants to exercise his Speedy Trial rights immediately, it was also the

Defendant who for nearly two years willingly signed no fewer than twelve Continuance Orders

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tolling the Speedy Trial clock in this case. As the COVID‐19 pandemic will likely ease in the not‐

too‐distant future, Defendant will not have to forbear too much longer from exercising his right

to a Speedy Trial and to force an indictment from the Government. Certainly, any modest

burden associated with pausing for such a limited period of time does not, as Defendant

suggests, justify an immediate dismissal of the criminal complaint against him. For the time

being, Defendant will have to wait to exercise his Speedy Trial rights, as the Standing Orders of

the Court have tolled his Speedy Trial clock until May 31, 2020.3


       As mentioned, supra, the Government offers two additional, alternative grounds for

finding it its favor, both of which are curiously left unaddressed in Defendant’s reply papers.

First, the Government claims that Defendant did not timely challenge Standing Orders 20‐02

and 20‐03 because Local Rule 7.1 (i) requires that any such challenge be brought within 14 days

of an Order’s issuance. Second, the Government argues that regardless of the effect of

Standing Orders 20‐02 and 20‐03, Defendant’s Speedy Trial clock has not expired because

motions have been pending for most of the past two months, which tolled the clock’s running.

While the Court does not choose simply to credit these arguments as unopposed, it does

understand the reasoning behind the arguments and credits them substantively as alternative

bases for ruling in favor of the Government in connection with Defendant’s application.4



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  In its brief, the Government pointed out (without any response from Defendant) that at least
one other District Court in this Circuit found an “analogous COVID‐19‐responsive standing
order[] to ‘follow[] the procedure that the Speedy Trial Act requires.” Docket No. 37, at 6‐7
(quoting United States v. Briggs, 2020 WL 1939720 (E.D. Pa. Apr. 22, 2020). While not binding
upon this Court, such a decision provides useful confirmation that Standing Orders like 20‐02
and 20‐03 are presumptively valid.
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  Although the Defendant spent a good deal of time in his initial moving papers attacking the
substantive charges the Government has filed against him, the Court has devoted little time to
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       THEREFORE, for all of the foregoing reasons, and good cause appearing,


       IT IS on this 22nd day of May, 2020,


       ORDERED that Defendant’s motions set forth at Docket Number 33 be and the same are

herewith denied.



                                                   s/James B. Clark III
                                                   HON. JAMES B. CLARK III
                                                   United States Magistrate Judge




addressing those attacks because they have little to do with Defendant’s application that the
Speedy Trial Act has been violated. The Court also has not substantively addressed Defendant’s
arguments regarding dismissal with prejudice and dismissal pursuant to Rule 48, as the Court
considers these arguments to be moot given its denial of the Defendant’s principal Speedy Trial
Act motion.
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